          CASE 0:21-cv-01417-PJS-ECW Doc. 9 Filed 07/02/21 Page 1 of 1




United States District Court
Office of the Clerk
U.S Court House, Suite 202
                                                    .t'ffi
300 South Fourth Street
Minneapolis, MN. 55415

June   22,2021
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Dear Clerk,

Re: Nicolaison v Johnston
    File No. 2l-cv-O14 l7-PJS-ECW

     Minnesota Sex Offender Program does not consider your office, as addressing the
Court Constitutionally as privileged mail, for that reason I am not entitled to seal the
envelope as private communications. So, it the envelope has not been sealed and the
filings are not enclosed, you know why.

  I received the Notice of Filing today from your office. It appears you want me'to remit
a Summons and Marshall forms for service?

I filed 2 copies of the Complaint with exhibits in support. I for your office and 1 for
service by the Marshalls.

I enclose as I believe I am instructed a SUMMONS and Marshall forms. The reason I
didn't submit the Marshall form., was in the past, the court would send to me the form
and instruct me to file it. I just happen to have a Marshall form to remit to you.

Please fiird here-in a Marshall form for service of the complaint and exhibits upon
Defendant Johnston.

And a SUMMONS.

Thank You,
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D*f*<. Ji"-rt---
-Wa$ne   Nicolaison
Plaintiff/ Pro se
llll   Hwy73
Moose Lake, MN. 55767



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